Case 2:04-cr-20243-SH|\/| Document 88 Filed 06/23/05 Page 1 of 2 e|D 123

   

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTER_N DISTRICT OF TENN%%SP§§ZH on\ jr :!.;\V
WESTERN DIVISION

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UNITED S'I‘ATES OF AMERICA `

VS. CR. NO. 04-20243-Ma

RONDA WHITE ,

Defendant.

 

ORDER ON CON'I‘INUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

Before the court is defendant’s June 22, 2005, motion
requesting continuance of the report date set June 24, 2005. The
continuance is necessary to allow for additional preparation in the
case.

The Court grants the motion and continues the trial date to
August l, 2005, at 9:30 a.m. with a report date of July 22, 2005,
at 2:00 p.m.

The period from July 15, 2005, through August 12, 2005, is
excluded. under 18 U.S.C. § 3161(h)(8)(B)(ivJ to allow' defense
counsel additional time to prepare.

IT Is so 0RDERED this the °3‘°{ day of June, 2005.

617\///"/1__`

SAM'UEL H. MAYS, JR.
UNITED STA'I‘ES DISTRICT JUDGE

 

This document entered 0\'1 the docket Eh€'e¥- m §§ i'\p|i;;n¢g,
with Rule 55 and/or 32{!)) FHCrF on

 

 

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ThiS notice confirms a copy of the document docketed as number 88 in
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Honorable Samuel Mays
US DISTRICT COURT

